qAO 2458     Case   2:11-cr-20008-PKH
              (Rev.09/08)Judgmentin a CriminalCase Document 60          Filed 03/07/12          Page 1 of 6 PageID #: 400
              SheetI



                                    UrurEnSrarnsDTsrruCT
                                                       COURT
                       WESTERN                               Districtof                             ARKANSAS
          TINITEDSTATESOF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                     V.

                                                                     CaseNumber:                    2:l1CR20050-001
               ALYS MARIE DIMMITT                                    USM Number:                    08041-010

                                                                     David Dunaqin
                                                                     Defendant's
                                                                               Attomey
THE DEFENDANT:
X pleaded
        guiltyto count(s)       One(l) andTwo (2) of an Informationon October21,201I

n pleaded
        nolocontendere
                     to count(s)
  whichwasaccepted
                 by thecourt.
I wasfoundguilty on count(s)
  aftera pleaof notguilty.

Thedefendant           guilty oftheseoffenses:
          is adjudicated

Title & Section               Natureof Offense                                                      Offense Ended             Count

r 8 u . s .$c 4.             Misprisionof a Felony                                                    8/14t2007                  I

l8 U.S.C.$ l00l              FalseandFraudulent
                                              Documents                                                 412008


                             asprovidedin pages? through
      Thedefendantis sentenced                                       of thisjudgment. The sentence
                                                                                                 is imposedwithin the
statutoryrangeandtheU.S.Sentencing
                                 Guidelineswereconsideredasadvisory.

            hasbeenfoundnot guiltyon count(s)
E Thedefendant

X The defendant'snameis dismissedftom Docket Number 2: I 1CR20008,where she is listed as defendantnumber003.
         It is orderedthat the defendantmust notify the United Statesattorneyfor this district within 30 daysof any changeof name,residence,
or mailing-address until.allfines,restitution,.costs,
                                                   irndspecialassessments im"1:osedby thisjudgmentarefully paid. If ordEredto payiestitution,
the defenAantmust notifo the court and United Statesattornev of material chansesiir econom'iccircumstantes.

                                                                     March6.2012
                                                                     Dateof Impositionof Judgment


                                                                    /S/ P. K. Holmes.III
                                                                    SignatureofJudge




                                                                     HonorableP. K. Holmes-III- Chief United StatesDistrict Judse
                                                                    NameandTitle of Judge


                                                                     March6.2012
AO 2458         Case
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               Sheet2 - Imprisonment
                                                                                                   Iudgment- Page _l_   of
DEFENDANT:                     ALYS MARIE DIMMITT
CASENUMBER:                    2:I I CR20050-001


                                                             IMPRISONMENT

       Thedefendantis herebycommittedto the custodyof the UnitedStatesBureauof Prisonsto be imprisonedfor a
totaltermof:    Thirty-six(36)monthson Count I and thirty-seven(37)monthson Count 2, termsto run concurrently.
The defendantshallbe givencredit for time servedsinceher arreston September2,2011.




  tr   Thecourtmakesthe following recommendations
                                               to the Bureauof Prisons:




  X    Thedefendant
                 is remanded
                           to thecustodvof theUnitedStatesMarshal.

  n       Thedefendantshallsurrenderto the UnitedStatesMarshalfor this district:

          n a t                                     E a.m.      n p.m.       on
          tr     asnotifiedby theUnitedStatesMarshal.

          Thedefendant
                     shallsurenderfor serviceof sentence
                                                       at the institutiondesignated
                                                                                  by the Bureauof Prisons:

                 beforeI p.m.on

          n      as notified by the United StatesMarshal.

          n      as notified by the Probation or Pretrial ServicesOffice.



                                                                    RETUR}I
 I have executedthis judgment as follows:




          Defendantdeliveredon

                                                     , with a certifiedcopyof thisjudgment.



                                                                                                 UNITEDSTATESMARSHAL


                                                                            By
                                                                                              DEPUTYUNITED STATESMARSHAL
AO 2458          Case
                (Rev.    2:11-cr-20008-PKH
                     09/08)Judgmentin a CriminalCasc   Document 60       Filed 03/07/12        Page 3 of 6 PageID #: 402
                Shect3 - Supervised
                                  Release
                                                                                                    Judgment-Page    3     of 4
DEFENDANT:                     ALYS MARIE DIMMITT
CASENUMBER:                    2:11CR20050-001
                                                        SUPERVISEDRELEASE
Uponreleasefrom imprisonment,                                 releasefor a termof :
                             the defendantshallbe on supervised                                  One(1)yearon CountI and
three(3) yearson Count2, termsto run concurrently.




    The defendantmustreportto the probationoffice in the districtto whichthe defendantis releasedwithin 72 hoursof releasefrom the
custodyofthe BureauofPrisons.
Thedefendant  shallnot commitanotherfederal,stateor localcrime.
Thedefendant  shallnotunlawfullvpossess   a controlledsubstance.
                                                              Thedefendant  shallrefrainfrom anyunlawfuluseofa controlled
           Thedefendant
dribitarrce.             shallsubmitto onedrugtestwithin l5 daysof releasefrom imprisonment  anilat leasttwo periodicdrugtests
thereafter,asdetermined by the court.
X Theabovedrugtestingconditionis suspended,       basedon thecourt'sdeterminationthatthe defendantposesa low risk of
     futuresubstanceabuse.   (Check, if applicable.)
 X          Thedefendantshallnot possess                                                         weapon.(Check,if applicable.)
                                       a firearm,ammunition,destructivedevice,or anyotherdangerous

 X          Thedefendant           in thecollectionof DNA asdirectedby theprobationofficer. (Check,if applicable.)
                      shallcooperate

 n          Thedefendantshallregisterwith the statesexoffenderregistrationagencyin the statewherethe defendantresides,works,or is a
                  asdirectedby theprobationofficer. (Check,ifapplicable.)
            student,
 tr         Thedefendant             in an approvedprogramfor domesticviolence.(Check,if applicable.)
                      shallparticipate
      If thisjudgmentimposes_a_flnq               it is a conditionof supervised
                                     o1restitution,                            release
                                                                                     thatthedefendant pay in accordance
                                                                                                                      with the
 Schedule  of Palmentsslieetof thisjudgment.
      Thedefendant mustcomplywith thestandard      conditions thathavebeenadopted                                        conditions
                                                                                   by thiscourtaswell aswith anyadditional
 on the attachedpage,

                                          STANDARD CONDITIONS OF SUPERVISION
      l)               shallnot leavethejudicialdistrictwithoutthepermission
             thedefendant                                                  of thecourtor probationofficer;
      2)                 shallreportto the probationofficer in a mannerandfrequencydirectedby the courtor probationofficer.
             the defendant
      3)     thedefendant                                                                              of theprobationofficer;
                       shallanswertruthfullyall inquiriesby theprobationofficerandfollow theinstructions
      4)                shallsupporthis or herdependents
             thedefendant                                andmeetotherfamilyresponsibilities;
      5)'    the defendant
                         shallwork regularlyat a lawfuloccupation,
                                                                unlessexcused by the probationofficerfor schooling,
                                                                                                                  training,or other
                      reasons;
             acceptable
      6)                 shallnotiff the probationofficer at leastten daysprior to anychangein residenceor employment;
             the defendant
      7)     thedefendant                        useofalcoholandsllallnotpurchase,
                         shallrefrainfromexcessive                                possess,
                                                                                         use,distribute,
                                                                                                       oqadministerany
                               or anyparaphernalia
             controlledsubstance                 relatedto anyconffolledsub'stances,
                                                                                 eiceptaspredcribedby a physician;
      8)                 shallnot frequentplaceswhereconholledsubstances
             the defendant                                             areillegally sold,used,diskibuted,or administered;
      e) thedefendant              with anypersons
                   shallnot associate                                                       with anypersonconvicted
                                                       in cdminalactivityandshallnot associate
                                                 engaged                                                          of a
             felony,unlessgrantedpermissionto do so'bythe proEaTion
                                                                  officer;
  l0)                   shallpermita probationofficerto visit him or herat anytime at homeor elsewhere
             thedefendant                                                                            andshallpermitconfiscationof any
                      observedin plainview of the probationofficer;
             contraband
  I l)                 shallnoti$ theprobationofficerwithinsevenry-two
             thedefendant                                                                or questioned
                                                                     hoursof beingarrested           by a law enforcement
                                                                                                                       officer;
  12)
   ' the defendantshallnotenterinto any agreement                                                     agencywithoutthe
                                               to act asan informeror a specialagentof a law enforcement
      permission
               of the couft;and
  l3)'       asdirectedbv theprobationofficer.thedefendantshallnotifvthirdoartiesof risksthatmavbe occasioned    bv thedefendant's criminal
                   or personal.
             r_ec_ord                                  and shall penirit the'probationofficer to rfrakesuchnotificfitionsand to confirm the
                              history.or char-acte{stics
             defendant'scomplianceri'ithsuchnotificationrequirembnt.
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                    Judgment                                  Filed 03/07/12      Page 4 of 6 PageID #: 403
          Sheet3C - Supervised
                             Release
                                                                                      Judgment-Page _4_    of --6-
DEFENDANT:             ALYS MARIE DIMMITT
CASENUMBER:            2:l1CR20050-001

                                  SPECIALCONDITIONSOF SUPERVISION


L The defendantshall not incur anv new debt nor establishanv bank or credit accountsunlessreceivins Drior aDDrovalfrom
the U.S. ProbationOfficer, and wilf make any informationconierning her financial statusavailableto th-eprobaiibnofficer
upon request.
AO 2458    Case
          (Rev.    2:11-cr-20008-PKH
               09/08)Judgmcntin a CriminalCase   Document 60                    Filed 03/07/12    Page 5 of 6 PageID #: 404
          Sheet5 - CriminalMonetarvPenalties
                                                                                                  Judgment* Page -l--     of _S_
DEFENDANT:                     ALYS MARIE DIMMITT
CASENUMBER:                    2:11CR20050-001
                                          CRIMINAL MONETARY PENALTIES
     Thedefendant
               mustpaythetotalcriminalmonetarypenalties              of payments
                                                      undertheschedule         on Sheet6.

                   Assessment                                            Fine                           Restitution
TOTALS           $ 200.00                                              $ -0-                          $ -0-


n    Thedetermination
                    of restitutionis deferued
                                            until                 . An AmendedJudgmentin a Criminal Case(AO245C) will be enrered
     aftersuchdetermination.

n              mustmakerestitution(includingcommunityrestitution)
     Thedefendant                                               to thefollowingpayeesin theamountlistedbelow.

     If thedefendantmakesa partialpayment,eachpayeeshallreceivean approximately  proportionedDavment.    unlesssnecified   otherwisein
     the-priorityorderor percinl$g'pavmenfcoluninbelow. However,puiduantto t t'tJls.E. E id64dt';ii-fihi;A;EiniCtl"iJ.iiit-ue    pliii
     beloretne UnltedStatests pArd.

Name of Pavee                              Total Loss*                           RestitutionOrdered               Priority or Percentaqe




TOTALS


tr   Restitutionamountorderedpursuantto pleaagreement$

!    Thedefendant  mustpay intereston restitutionanda fine of morethan$2,500,unlesstherestitutionor fine is paid in full beforethe
     fifteenthdayafterthedateof thejudgment,pursuant   to l8 U.S.C.$ 3612(f).All of thepaymentoptionson Sheet6 maybe subject
     to penalties
                for delinquencyanddefault,pursuant to l B U.S.C.g 3612(g).

n    Thecourtdetermined
                      thatthe defendantdoesnot havethe ability to pay interestandit is orderedthat:

     n    theinterest
                    requirement
                             is waivedfor rhe           n       fine    t   restitution.
     n    the interestrequirement
                                for the      n   fine       n     restitutionis modifiedasfollows:


+Findingsto,rthqlotat
                 amountof.losLesarerequiredunderChaptersl0gA,
                                                    ll0, ll0A,andll3AofTitlelBforoffensescommiffedonorafter
Septemb1r
        13,1994,butbeforeApril 23, 1996.
AO 2458    Case
          (Rev.    2:11-cr-20008-PKH
               09/08)
                    Judgmentin a CriminalCase       Document 60              Filed 03/07/12      Page 6 of 6 PageID #: 405
          Sheet6 - Schedule
                          of Pavments
                                                                                                    Judgment-Page   _.$_    of   _-_L
DEFENDANT:               ALYS MARIE DIMMITT
CASENUMBER:              2:l1CR20050-001

                                                    SCHEDULEOF PAYMENTS

              the defendant'sability to pay, paymentof the total criminal monetarypenaltiesare due as follows:
Having assessed

A    X    Lump sum paymentof $         200.00             due immediately.

          tr   not laterthan                                  ror
          I    in accordance       n     C,     !   D,    n     E, or    !     F below;or

B    n    Payment                 (rnaybecombinedwith
                to beginimmediately                                     E C,       I D, or    I F below);or
C    X    Payment
                in equal               (e.g.,weekly,monthly,quarterly)installments
                                                                                 of $                  overa periodof
                    (e.g.,monthsor years),to commence           (e.g.,30 or 60 days)afterthedateof thisjudgment;or

D    !    Paymentin equal                       (e.g.,weekly, monthly, quarterly)installmentsof $                     overa periodof
                    (e.g.,monthsor years),to commence                          (e.g.,30 or 60 days)afterreleasefrom imprisonmentto a
          termofsupervision;
                          or

     n Paymentduringthetermof supervisedreleasewill commencewithin                 (e.9.,30 or 60 days)afterrelease  from
                                                                         of the defendant'sability to pay at thattime; or
          imprisonment.Thecourtwill setthe paymentplanbasedon an assessment

     tr Specialinsffuctionsregardingthe paymentof criminalmonetarypenalties:




Unlessthecourthasexpresslyordered
                                otherwise. if thisiudement
                                                         imposes
                                                               imprisonment.
                                                                          navment of criminalmonetarv       isduedurins
                                                                                                    oenalties
imprisonm.ent.All criminalmonetarypenaltidq,exc6ptThosepaymentsriradethroughthe FederalBureauof Pris6ns'lnmateFinancia'l
Re'sponsibility
             Program,aremadeto the clerk of the coirrt.

Thedefendantshallreceivecreditfor all paymentspreviouslymadetowardanycriminalmonetarypenaltiesimposed.



tr   Joint and Several

     Defendantand Co-DefendantNames and CaseNumbers (including defendantnumber), Total Amount, Joint and SeveralAmount,
     and coresponding payee, if appropriate.




tr             shallpaythecostofprosecution.
     Thedefendant

!              shallpaythefollowingcourtcost(s):
     Thedefendant

tr   Thedefendantshallforfeit the defendant'sinterestin the followingpropertyto theUnitedStates:




Payments   shallbe appliedin the followingolder:(l) assessment,
                                                              (2) restitution                               (4) fineprincipal,
                                                                            principal,(3) restitutioninteresr,
(5) tine interest,
                 (6)-cbmmunity             (7) penalties,
                                restitution-,          and(8) cbdts,includingcostbf prbiecutionandcourtcbbts.
